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                 Exhibit 2
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                    WISCONSIN ELECTIONS COMMISSION
                    Administering Wisconsin's Election Laws




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  Absentee Ballot Requests for April 7 Already
  Exceed Last Three Spring Election Absentee
  Numbers Due to COVID-19
  Date: Tue, 03/17/2020 - 10:30

  MADISON, WI – Wisconsin voters are requesting absentee ballots at a record pace with concerns
  about Coronavirus COVID-19, according to the Wisconsin Elections Commission.

  As of Tuesday morning, more than 173,000 absentee applications have been received by Wisconsin
  municipal clerks. That exceeds total requests for three of the last four Spring Elections. (See additional
  absentee ballot statistics below.)

  “We are encouraged that so many voters are requesting absentee ballots already, especially through the
  MyVote Wisconsin website,” said Meagan Wolfe, Wisconsin’s chief elections official. She urged anyone
  who isn’t currently registered and wants to vote absentee for April 7 to act immediately – by
  Wednesday, March 18.

  “We want everyone who is eligible and who wants to vote to be able to do so safely,” she said. If your
  name or address has changed since you registered, you need to register with your current information.
   You can check your registration status at myvote.wi.gov, click on “My Voter Info.”

  Wednesday, March 18 is the deadline for electors to register to vote by mail or online for the
  Presidential Preference Primary and Spring Election. After this date, electors must register in person
  in the municipal clerk's office or at the polling place.

  According to state law, mailed voter registration forms must be postmarked no later than the third
  Wednesday before the election. Online registration closes at 11:59 p.m. the same day.

  Online voter registration is available at https://myvote.wi.gov. There are two ways you can register
  using the website:

             People with a Wisconsin driver license or state ID card whose address is current with the
             Wisconsin Department of Transportation can complete their online registration immediately.
             People who need to update their address with DOT can accomplish that online and complete
             their online registration.
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      People without a Wisconsin driver license or state ID card can fill out the voter registration form
      online, then print it, sign it and mail it to their municipal clerk’s office along with a copy of a
      proof-of residence document. The website has detailed instructions. If you do not have a printer
      where you are, you can save the completed form as a PDF and make arrangements to have a
      family member or a friend with a printer, or a copy center, print it for you.

Voter registration forms that can be printed and filled out by hand are also available here in English:
https://elections.wi.gov/forms/el-131-fillable
Voter registration forms that can be printed and filled out by hand are also available here in Spanish:
https://elections.wi.gov/forms/el-131-spanish

Remember, the deadline to register online or by mail is Wednesday, March 18.

Voters who miss the deadline may also register in their municipal clerk’s office until the Friday before
the election, April 3 or at the polls on election day.

Absentee Voting Requests Pouring In
Approximately 64,000 requests have come in since Friday, March 13, when approximately 109,000
requests had been made, with 39,000 coming in Monday. Unfortunately, detailed comparisons to
similar times prior to past elections are not available.

Daily absentee ballot reports are being posted here:
https://elections.wi.gov/publications/statistics/absentee.

These numbers from past Spring Elections put the 2020 requests into perspective:


 Spring          Absentee issued    Total
                                                 Turnout Percent Absentee
 Election        total              Ballots Cast
 2016                   249,503        2,113,544 47.38%            11.80%
 2017                   103,533          708,711 15.86%           14.61%
 2018                   130,041          997,485 22.32%           13.04%
 2019                   170,121         1224303 27.22%            13.90%
 2020-To Date           173,773              NA      NA                NA

In comparison, there were 819,316 absentee ballots cast in the November 2016 Presidential Election.
The 2016 Spring Election and Presidential Preference Primary was a particularly high turnout election,
due to both major political parties having competitive nomination races. In 2020, only one major party
has a contested race for President on the ballot in Wisconsin. Increased absentee ballots do not
necessarily predict higher voter turnout as more voters may simply be voting prior to Election Day.

How to Request an Absentee Ballot
There are several ways registered voters can request absentee ballots. If they have internet access, the
easiest way is to sign up at MyVote Wisconsin, https://myvote.wi.gov.

Just look for the “Vote Absentee” button near the top of the page. On a mobile phone, use the menu
button in the upper right corner of the website. There is a three-step process that starts with putting in
your name and date of birth, followed by requesting your ballot. If you don’t already have a photo ID
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on file with your clerk’s office, you can upload a copy. Mobile phone users can take a picture and
upload it to MyVote. Absentee ballot requests submitted this way go directly to your clerk’s office, and
you can track your ballot by returning to the website.

Voters can also request absentee ballots by mailing, emailing or faxing their municipal clerk’s office.
You can find your clerk’s contact information on MyVote Wisconsin. These requests must be
accompanied by a copy of your photo ID. If you already have a photo ID on file from previous
absentee requests under your current registration, you will not need to provide it again.

Voters who are indefinitely confined, meaning they may have difficulty getting to the polls for reason
of age, illness, infirmity, or disability are not required to provide a photo ID. Voters in care facilities
can have a representative of the facility confirm the resident's identity instead of providing a photo ID.
 More information on photo ID and exemptions can be found at bringit.wi.gov.

The deadline for registered voters to request an absentee ballot be mailed to you is the Thursday before
the election, April 2. However, the WEC urges voters not to wait, due to possible delays in mail
delivery. If you get an absentee ballot mailed to you, you can still decide to vote at the polls on Election
Day if you haven’t returned it.

Your absentee ballot must be received in your clerk’s office or at your polling place by 8 p.m. on
Election Day. Again, the WEC urges voters to request and return ballots as soon as possible. The US
Postal service advises ballots may take up to a week to reach voters and a week to be returned to your
municipal clerk.

Next Steps
The Wisconsin Elections Commission has scheduled a special online meeting at 4 p.m. Wednesday,
March 18 to deal with any COVID-19 issues that may arise.

At this time the Commission has not considered any additional changes to the process, dates or
deadlines for the April 7 election. The Commission is also working with state leaders to determine the
legal mechanisms for making future changes should they be needed.

“The Commission and WEC staff recognize that this is an evolving situation and will continue to rely
on the guidance of public health officials. We all stand ready to adjust as directed to ensure the safety
of clerks, poll workers and voters,” said Wolfe.
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 Attachment                                                                                  Size

 NR Elections - WEC Releases Updated Absentee Numbers-COVID-19 03-17-2020.pdf 207.98 KB

For more information, contact
Reid Magney, public information officer, 608-267-7887, or reid.magney@wi.gov.




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                           Toll-Free Voter Help Line: 1-866-VOTE-WIS




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